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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
_______________________________
MARY ANN MCBRIDE, et al.,      )
                               )
          Plaintiffs,          )
                               )   Civil Action No. 2:15–cv–11222
          v.                   )
                               )   Hon. Sean F. Cox
MICHIGAN DEPARTMENT            )   Mag. David R. Grand
OF CORRECTIONS, et al.,        )
                               )
          Defendants.          )
______________________________ )

 PLAINTIFFS’ STATEMENT OF MATERIAL FACTS NOT IN DISPUTE


     Plaintiffs assert that the following material facts are not in dispute in this

case and thus mandate summary judgment:

                                     PARTIES

     1.    Plaintiffs Mary McBride and Ralph Williams are deaf or hard of

           hearing prisoners who are in the custody of the Michigan Department

           of Corrections (“MDOC”). See, e.g., Ex. A, at 4−6 (Plaintiff

           McBride’s Objections and Responses to Defendants’ First Set of

           Interrogatories, Responses 1–2); Ex. B, at 3−6 (Plaintiff Williams’
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            Amended Objections and Responses to Defendants’ First Set of

            Interrogatories, Response 2).1

      2.    Defendant MDOC is a Michigan state agency that receives federal

            funds for a variety of programs. Ex. D, at 10:25−11:1, 13:15–14:9,

            17:17–18:6 (MDOC 30(b)(6) Dep. (Talcott)).

              IDENTIFICATION AND CLASSIFICATION OF
               DEAF AND HARD OF HEARING PRISONERS

      3.    Before this lawsuit was filed in March 2015, MDOC had no statewide

            policy for identifying and classifying deaf and hard of hearing

            prisoners. Ex. E, at 27:25–28:3, 37:6–14 (MDOC 30(b)(6) Dep.

            (Harbaugh)); Ex. F, at 69:7–70:4 (MDOC 30(b)(6) Dep. (Solomon));

            Ex. G, at 14:1–15:4 (MDOC 30(b)(6) Dep. (Kerstein)).

      4.    Before this lawsuit was filed, MDOC had maintained no

            comprehensive list identifying the deaf and hard of hearing prisoners

            in its custody. Ex. F, at 41:12−42:14; 54:20−55:12, 60:11−15,

            77:21−78:1 (MDOC 30(b)(6) Dep. (Solomon)); Ex. G, at 86:10–25

            (MDOC 30(b)(6) Dep. (Kerstein)).

1
 Plaintiff Wittman has been released from prison and is currently on parole. He
was in MDOC custody prior to release. See, e.g., Ex. C, at 4−5 (Plaintiff
Wittman’s Objections and Responses to Defendants’ First Set of Interrogatories,
Response 1).


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  5.    Before this lawsuit was filed, MDOC had taken no systematic steps to

        transfer deaf and hard of hearing prisoners from facilities not

        designated to house them to facilities that are so designated. Ex. H, at

        82:9−16, 86:2−12 (MDOC 30(b)(6) Dep. (Gilbert)); Ex. G, at 15:5–9

        (MDOC 30(b)(6) Dep. (Kerstein)).

  6.    MDOC created a document which established MDOC guidelines for

        identifying deaf and hard of hearing prisoners and classifying their

        hearing loss, effective in April 2016. This document is titled

        “Medical Service Advisory Committee – Guidelines,” and has the

        subject “Guidelines for Hearing Impaired Accommodations and

        Classification.” Ex. I (Guidelines for Hearing Impaired

        Accommodations and Classification).

  7.    MDOC’s Guidelines for Hearing Impaired Accommodations and

        Classification state that “one hearing aid will be issued for prisoners

        with deficit in both ears of 26 decibels or greater, if recommended by

        audiologist.” Ex. I (Guidelines for Hearing Impaired

        Accommodations and Classification).

  8.    MDOC maintains a health care services grid that identifies the health

        care services available at each MDOC facility. Ex. J, Michigan

        Department of Corrections - Bureau of Health Care Services, Onsite

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        Health Care Services Grid. The grid indicates which MDOC facility

        provides the health care service identified in each row. Id.

  9.    In the health care services grid, MDOC identified six facilities as

        offering services for “Vision/Hearing Impaired”: SRF, DRF, JCF,

        SMT, WCC, and WHV. Id.; Ex. K, at 16:22–17:3, 30:22–31:24

        (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))).

  10.   MDOC houses prisoners with “severe and profound” hearing loss at

        facilities not identified on the MDOC health care grid as facilities

        designated for deaf and hard of hearing prisoners. Ex. L (List of Deaf

        and Hard of Hearing Prisoners Attached as Exhibit 5 to Defendants’

        Response in Opposition to Plaintiffs’ Motion for Class Certification);

        Ex. H, at 35:25–36:7 (MDOC 30(b)(6) Dep. (Gilbert)); Ex. K, at

        60:3–8 (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))).

  11.   MDOC provided a list of 200 deaf and hard of hearing prisoners in its

        custody on March 10, 2017 that identifies 84 deaf and hard of hearing

        prisoners housed at facilities not identified on the MDOC health care

        grid as facilities designated for deaf and hard of hearing prisoners.

        The same list indicates that 32 of the 82 deaf and hard of hearing

        prisoners that MDOC has classified as “hearing impaired with deficit”

        are housed at non-designated facilities. Ex. L (List of Deaf and Hard

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        of Hearing Prisoners Attached as Exhibit 5 to Defendants’ Response

        in Opposition to Plaintiffs’ Motion for Class Certification).

  12.   MDOC has established no standards or guidelines for what types of

        accommodations are necessary for an MDOC facility to be considered

        capable of housing deaf and hard of hearing prisoners. Ex. K, at

        34:9–15 (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))).

  13.   Paul Slagter is an employee of the MDOC. He was designated by

        MDOC as its 30(b)(6) witness with knowledge about numerous issues

        related to deaf and hard of hearing prisoners, including (1) MDOC’s

        policies, procedures, and practices related to (a) communications

        devices and/or services for deaf and hard of hearing prisoners, and (b)

        access by deaf and hard of hearing prisoners to medical, educational,

        mental health, work, and religious programs or services, parole

        hearings, disciplinary proceedings and any other administrative

        hearings; (2) actions taken by MDOC in response to accommodation

        requests by deaf or hard of hearing prisoners; (3) MDOC’s

        consideration of video relay services; and (4) cancellation of the

        contract with Linguistica International (“Linguistica”) for American

        Sign Language (“ASL”) interpreter services. Ex. K, at 8:13–9:7

        (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))); Ex. M, at 5:14–23

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        (MDOC 30(b)(6) Dep. (Slagter (October 13, 2016))); Ex. N, at 7–8

        (Plaintiffs’ Notice of Deposition Pursuant to Rule 30(b)(6)); Ex. O, at

        7-8 (Plaintiffs’ Notice of Supplemental Deposition of MDOC

        Pursuant to Rule 30(b)(6)).

  14.   Paul Slagter testified in his capacity as a 30(b)(6) representative of

        MDOC that (1) “[t]here is not a departmental policy directive” for

        accommodating deaf and hard of hearing prisoners, and (2) such a

        policy directive is “the only way we’re going to be consistent in

        applying different practices throughout the department.” Ex. K, at

        68:9–12, 20–24 (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))).


 TELECOMMUNICATIONS SERVICES AND AUXILIARY AIDS

  15.   Video-based communication is now the standard mode of remote

        communication for deaf and hard of hearing individuals who

        communicate through sign language. Ex. P, at 10–12 (Ray Expert

        Report); Ex. Q, at 46–48 (Cokely Expert Report); Ex. R, at

        MCBRIDE 1ST RTP 001991 (Email from Millicent Warren to

        Edward Mize).

  16.   Video-based communication allows deaf and hard of hearing

        individuals to communicate with hearing individuals through the


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        federal government-sponsored video relay service (“VRS”). Ex. P, at

        11–12 (Ray Expert Report).

  17.   Through VRS, the deaf individual uses ASL via video with an

        interpreter, and the interpreter then interprets orally to the hearing

        individual on the call. Ex. P, at 11–12 (Ray Expert Report); Ex. S, at

        MCBRIDE 236034 (Memo from Paul Slagter to Kenneth McKee re:

        Assessment of Video Relay Service (VRS) for the Deaf and Hard of

        Hearing).

  18.   Video-based communication also allows deaf and hard of hearing

        individuals to communicate directly with other deaf and hard of

        hearing individuals using ASL. Ex. P, at 11–12 (Ray Expert Report);

        Ex. S, at MCBRIDE 236034-35 (Memo from Paul Slagter to Kenneth

        McKee re: Assessment of Video Relay Service (VRS) for the Deaf

        and Hard of Hearing).

  19.   Video-based communication may be monitored by prison staff for

        security purposes. Ex. P, at 12–15 (Ray Expert Report); Ex. S, at

        MCBRIDE 236035 (Memo from Paul Slagter to Kenneth McKee re:

        Assessment of Video Relay Service (VRS) for the Deaf and Hard of

        Hearing).



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  20.   Video-based communication via VRS can be made available at

        MDOC facilities at no cost. Ex. K, at 71:20–72:3 (MDOC 30(b)(6)

        Dep. (Slagter (April 11, 2016))); Ex. S, at MCBRIDE 236034 (Memo

        from Paul Slagter to Kenneth McKee re: Assessment of Video Relay

        Service (VRS) for the Deaf and Hard of Hearing); Ex. P, at 11–12

        (Ray Expert Report).

  21.   MDOC has not made videophones available to deaf and hard of

        hearing prisoners at any of the MDOC facilities. Ex. M, at 12:22–

        13:1 (MDOC 30(b)(6) Dep. (Slagter (October 13, 2016 ))).

  22.   MDOC makes teletypewriters (“TTY”) available to deaf and hard of

        hearing prisoners at certain facilities. Ex. T, at 19−21 (Defendants’

        Response to Plaintiffs’ First Set of Interrogatories, Response 6); Ex. U

        (List of MDOC TTYs).

  23.   Fifty-five deaf and hard of hearing prisoners identified on MDOC’s

        list of deaf and hard of hearing prisoners in its custody are housed at

        facilities that do not have TTYs. Twenty-one deaf and hard of

        hearing prisoners identified as “hearing impaired with deficit” on

        MDOC’s list of deaf and hard of hearing prisoners in its custody are

        housed at facilities that do not have TTYs. Ex. L (List of Deaf and

        Hard of Hearing Prisoners Attached as Exhibit 5 to Defendants’

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        Response in Opposition to Plaintiffs’ Motion for Class Certification);

        Ex. U (List of MDOC TTYs); Ex. K, 39:6−40:12 (MDOC 30(b)(6)

        Dep. (Slagter (April 11, 2016))).

  24.   TTY is a 60-year old technology that allows a deaf or hard of hearing

        individual to type a message that a deaf or hard of hearing recipient

        may view if, and only if, the recipient also has a TTY. Ex. P, at 7–9

        (Ray Expert Report); Ex. R, at MCBRIDE 1ST RTP 001989, 001991

        (Emails between Paul Slagter, Millicent Warren, Daphne Johnson,

        and others).

  25.   Many deaf and hard of hearing individuals do not have TTYs. Ex. R,

        at MCBRIDE 1ST RTP 001989, 001991 (Emails between Paul

        Slagter, Millicent Warren, Daphne Johnson, and others); Ex. P, at 7

        (Ray Expert Report); Ex. Q, at 4–5, 45–46 (Cokely Expert Report).

  26.   Because TTYs require typing and reading, they require proficiency in

        written English. Ex. P, at 7–8 (Ray Expert Report); Ex. Q, at 46-47

        (Cokely Expert Report).

  27.   Many deaf and hard of hearing individuals lack proficiency in written

        English. Ex. P, at 5 (Ray Expert Report), Ex. Q, at 13–16, 37–38

        (Cokely Expert Report); see, e.g., Ex. V, at MCBRIDE 015762−64

        (Excerpts from MDOC Prisoner Medical Records).

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  28.   Many deaf and hard of hearing individuals use ASL. Ex. P, at 5 (Ray

        Expert Report); Ex. Q, at 10-11, 13–16 (Cokely Expert Report).

  29.   ASL has its own structure, syntax, and grammar. Ex. P, at 5 (Ray

        Expert Report); Ex. Q, at 10–12 (Cokely Expert Report).

  30.   Deaf and hard of hearing prisoners have requested videophones. Ex.

        W (Wittman Grievance Document); Ex. X (McBride Grievance

        WHV-2013-03-1391-03F).

  31.   Paul Slagter notified another MDOC official in an email that “we are

        hearing locally from the prisoners . . . that [TTY] is outdated and the

        family members and the community no longer have the machines. It

        would be comparable to sending someone a fax to their homes versus

        an email to communicate.” Ex. R (Email from Paul Slagter to Daphne

        Johnson); see also Ex. Y, at 9:13–16 (Slagter Dep.).

  32.   Until July 1, 2015, MDOC contracted with a single vendor,

        Linguistica, to provide ASL interpreter services at all MDOC prison

        facilities. Ex. K, at 87:23–88:1, 89:7–10 (MDOC 30(b)(6) Dep.

        (Slagter (April 11, 2016))).

  33.   Linguistica failed to consistently provide interpreters when they were

        requested by MDOC. Ex. Z, at 64:24–65:8 (Reeves Dep.); Ex. AA, at

        42:18–23 (MDOC 30(b)(6) Dep. (McKee)).

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  34.   MDOC terminated the contract with Linguistica on July 1, 2015. Ex.

        BB (Memorandum from Kenneth T. McKee to Wardens re: Language

        Services).

  35.   MDOC has not secured the services of a single, statewide provider of

        interpreter services to replace Linguistica. Ex. K, at 88:8–14, 88:24–

        89:2 (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))).

  36.   MDOC instructed individual facilities to retain their own interpreter

        service providers via purchase order. Ex. BB (Memorandum from

        Kenneth T. McKee to Wardens re: Language Services); Ex. K, at

        102:20–24 (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))).

  37.   One MDOC facility did not retain a replacement provider of

        interpreter services until eight months after the Linguistica contract

        was canceled. Ex. CC, at 78:9–19 (Campbell Dep.).

  38.   MDOC has relied on fellow prisoners to interpret for deaf and hard of

        hearing prisoners, including at medical appointments. E.g., Ex. DD

        (Grievance WHV-11-11-4704-06C); Ex. EE, at MCBRIDE 014420,

        MCBRIDE 014451 (Excerpts from MDOC Prisoner Medical

        Records); Ex. V, at MCBRIDE 015550-51 (Excerpts from MDOC

        Prisoner Medical Records); Ex. CC, at 52:19–53:6, 78:14–22

        (Campbell Dep.); Ex. FF, at 69:11−16 (Brewer Dep.).

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  39.   MDOC has relied on lip-reading and “pen and paper” to attempt to

        communicate with deaf and hard of hearing prisoners, including at

        medical appointments. E.g., Ex. CC, 52:19–53:6 (Campbell Dep.);

        Ex. EE, at MCBRIDE 021247 (Excerpts from MDOC Prisoner

        Medical Records); Ex. V, at MCBRIDE 015111, MCBRIDE 015167;

        MCBRIDE 015350, MCBRIDE 015395−96, MCBRIDE 015762−64

        (Excerpts from MDOC Prisoner Medical Records); Ex. EE, at

        MCBRIDE 014179−80 (Excerpts from MDOC Prisoner Medical

        Records); Ex. HH, at MCBRIDE 021791−92 (Excerpts from MDOC

        Prisoner Medical Records); Ex. II, at MCBRIDE 012773 (Excerpts

        from MDOC Prisoner Medical Records); Ex. JJ, MCBRIDE

        051586−87 (Excerpts from MDOC Prisoner Medical Records); Ex.

        KK (Grievance JCF-13090-1609-12Z1).

  40.   Skilled lip readers can recognize only approximately 10-30% of

        words. Ex. Q, at 16–19 (Cokely Expert Report); Ex. P, at 5 (Ray

        Expert Report).

  41.    A July 20, 2015 memorandum from MDOC’s Deputy Director for the

        Correctional Facilities Administration, Kenneth McKee, to MDOC

        wardens (“McKee Memo”) listed certain situations when foreign

        language and ASL services should be provided. Ex. BB

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        (Memorandum from Kenneth T. McKee to Wardens re: Language

        Services).

  42.   The McKee Memo does not establish any specific procedures to

        ensure that interpreters are available. Id.

  43.   MDOC has not taken any steps to monitor or verify whether its

        facilities are complying with the McKee Memo. Ex. AA, at 35:8–18,

        36:4–10 (MDOC 30(b)(6) Dep. (McKee)).

  44.   Apart from the McKee Memo, MDOC has no other system-wide

        policies or procedures that address the provision of ASL interpreter

        services. Ex. K, at 95:4−7 (MDOC 30(b)(6) Dep. (Slagter (April 11,

        2016))); Ex. T, at 15−19 (Defendants’ Response to Plaintiffs’ First Set

        of Interrogatories, Response 5); Ex. LL, at 4−5 (Defendants’ First

        Supplemental Response to Plaintiffs’ First Set of Requests for

        Production, Response 13).

  45.   The McKee Memo does not require that MDOC provide interpreters

        in connection with religious services. Ex. AA, at 61:14–17 (MDOC

        30(b)(6) Dep. (McKee)); Ex. K, at 105:3–19 (MDOC 30(b)(6) Dep.

        (Slagter (April 11, 2016))).

  46.   MDOC does not provide ASL interpreters at religious services. Ex.

        K, at 105:3–25 (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))).

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  47.   MDOC does not try to accommodate requests by prisoners for ASL

        interpreters at religious services. Ex. K, at 105:20–22 (MDOC

        30(b)(6) Dep. (Slagter (April 11, 2016))).

  48.   Prisoners in MDOC’s custody have repeatedly not had ASL

        interpreters available for medical appointments. E.g., Ex. MM, at

        MCBRIDE 021209 (Excerpts from MDOC Prisoner Medical

        Records); Ex. GG, at MCBRIDE 021247 (Excerpts from MDOC

        Prisoner Medical Records); Ex. NN, at MCBRIDE 020910 (Excerpts

        from MDOC Prisoner Medical Records); Ex. OO, at MCBRIDE

        020908 (Excerpts from MDOC Prisoner Medical Records); Ex. PP, at

        MCBRIDE 020871 Excerpts from MDOC Prisoner Medical Records);

        Ex. QQ, at MCBRIDE 020779 (Excerpts from MDOC Prisoner

        Medical Records); Ex. II, at MCBRIDE 013047, MCBRIDE 013202

        (Excerpts from MDOC Prisoner Medical Records); Ex. EE, at

        MCBRIDE 013986, MCBRIDE 014045, MCBRIDE 014179−80

        (Excerpts from MDOC Prisoner Medical Records; Ex. V, at

        MCBRIDE 015167, MCBRIDE 015882, MCBRIDE 015395−96

        (Excerpts from MDOC Prisoner Medical Records); Ex. RR, at

        MCBRIDE 033986 (Excerpts from MDOC Prisoner Medical



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        Records); Ex. JJ, at MCBRIDE 051586−87 (Excerpts from MDOC

        Prisoner Medical Records).

  49.   Video remote interpreting (“VRI”) involves remote ASL interpreters

        accessible by video. Ex. P, at 23−24 (Ray Expert Report).

  50.    VRI can be especially beneficial in emergency situations. Id.; see

        also Ex. Q, at 51−52 (Cokely Expert Report).

  51.   MDOC previously offered access to VRI at the Women’s Huron

        Valley Correctional Facility (“WHV”) and the G. Robert Cotton

        Correctional Facility (“JCF”) as a “beta test,” but MDOC has

        discontinued this program. Ex. K, at 91:10-93:9, 94:3−7 (MDOC

        30(b)(6) Dep. (Slagter (April 11, 2016))).

NOTIFICATION OF PRISON WARNINGS AND ANNOUNCEMENTS

  52.   MDOC does not ensure at the central level that systems of visual

        notification for announcements and safety alerts, such as fire alarms

        and alarms signaling emergency lockdowns, are accessible to deaf and

        hard of hearing prisoners at every MDOC facility where such

        prisoners are housed. Ex. K, at 110:14–112:9, 123:16–21 (MDOC

        30(b)(6) Dep. (Slagter (April 11, 2016))).

  53.   Not all MDOC facilities that house deaf or hard of hearing prisoners

        provide in-cell visual alarms. Ex. T, at 21–23 (Defendants’ Response

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        to Plaintiffs’ First Set of Interrogatories, Request 7); Ex. K, at 110:14–

        25, 112:10−19 (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))); Ex.

        P, at 19 (Ray Expert Report); Ex. Q, at 38−39 (Cokely Expert Report).

  54.   In-cell visual alarms or bed shakers are necessary in the event of a fire

        or other emergency that occurs while deaf and hard of hearing

        prisoners are sleeping, given their likely inability to hear an aural

        alarm. Ex. P, at 18−20 (Ray Expert Report); Ex. Q, at 38−39 (Cokely

        Expert Report).

  55.   MDOC does not ensure that systems of visual notification are made

        available for daily activities such as meal time and count time at all

        facilities that house deaf and hard of hearing prisoners, and does not

        consistently provide such visual notification. Ex. T, at 21–23

        (Defendants’ Response to Plaintiffs’ First Set of Interrogatories,

        Request 7); Ex. K, at 111:1–22 (MDOC 30(b)(6) Dep. (Slagter (April

        11, 2016))); Ex. CC, at 80: 14−23 (Campbell Dep.).

  56.   MDOC implemented a Page Alert Broadcast System pilot program at

        one facility involving a one-way communication system that allows

        MDOC employees to send messages to pagers issued to deaf and hard

        of hearing prisoners, and is rolling out this system at four of the other

        facilities designated for deaf and hard of hearing prisoners. Ex. SS, ¶

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        5 (Affidavit of Paul Slagter, Attached as Exhibit 10 to Defendants’

        Response in Opposition to Plaintiffs’ Motion for Class Certification);

        Ex. TT (WHV Operating Procedure: Assistive Listening Devices and

        Page Alert Broadcast System); Ex. M, at 67:21–68:12 (MDOC

        30(b)(6) Dep. (Slagter (October 13, 2016))).

  57.   The pagers provided to prisoners at the pilot facility, WHV, have not

        worked consistently, resulting in information gaps. Ex. A, at 11−12

        (Plaintiff McBride’s Objections and Responses to Defendants’ First

        Set of Interrogatories, Responses 6−7); Ex. K, at 116:25−117:5,

        119:14−120:1 (MDOC 30(b)(6) Dep. (Slagter (April 11, 2016))); Ex.

        Z, at 92:18−23 (Reeves Dep.); Ex. Q, at 40 (Cokely Expert Report).

 TREATMENT OF DEAF AND HARD OF HEARING PRISONERS

  58.   MDOC has received multiple complaints related to the mistreatment

        of deaf and hard of hearing prisoners by prison employees. E.g., Ex.

        UU (Grievance WHV-2014-06-2356-06E); Ex. VV (Grievance URF-

        1406-1931-17a); Ex. EE, at MCBRIDE 014062 (Excerpts from

        MDOC Prisoner Medical Records).

  59.   Plaintiff McBride filed a grievance stating that she was verbally

        “degrad[ed]” and “humiliated” by an officer who mocked Ms.


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        McBride’s manner of speaking. Ex. UU, at MCBRIDE 235409−12

        (Grievance WHV–2014–06–2356–06E).

  60.   The grievance stated that the officer shouted at Ms. McBride despite

        being informed by other prisoners that Ms. McBride was deaf, and

        could not hear the officer’s instructions. Id. at MCBRIDE 235409–

        11, 235413–14.

  61.   Ms. McBride’s grievance included supporting statements from eight

        eyewitnesses. Id. at MCBRIDE 235413–23.

  62.   One supporting statement from an eyewitness stated that a senior

        officer observed the exchange, but did not intervene. Id. at

        MCBRIDE 235415.

  63.   MDOC responded to Ms. McBride’s grievance by saying, “[McBride]

        is unaware of what comments and statements [were] being made due

        to there was no interpreter present. There fore (sic) grievance is

        denied due to insufficient evidence.” Id. at MCBRIDE 235424.

TRAINING RELATED TO TREATMENT AND ACCOMMODATION
      OF DEAF AND HEARD OF HEARING PRISONERS

  64.   MDOC has no system-wide policies or procedures that address

        training related to the treatment of or accommodations for deaf and

        hard of hearing prisoners. Ex. WW, at 14:25–15:3 (MDOC 30(b)(6)

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        Dep. (Czinder (April 13, 2016))); Ex. XX, at 9:16–21 (MDOC

        30(b)(6) Dep. (Czinder (October 12, 2016))); Ex. Z, at 144:20−23,

        149:10–15 (Reeves Dep.); Ex. CC, at 53:7–10 (Campbell Dep.).

  65.   At a system-wide level, MDOC does not provide training that

        addresses treatment of or accommodations for deaf or hard of hearing

        prisoners. Ex. WW, at 25:16–25 (MDOC 30(b)(6) Dep. (Czinder

        (April 13, 2016))); Ex. XX, at 9:16–10:12 (MDOC 30(b)(6) Dep.

        (Czinder (October 12, 2016))).

  66.   At a system-wide level, MDOC does not provide training on issues

        related to identification and classification of deaf and hard of hearing

        prisoners. Ex. WW, at 26:23–27:1 (MDOC 30(b)(6) Dep. (Czinder

        (April 13, 2016))).

  67.   At a system-wide level, MDOC does not provide training on the use

        and maintenance of TTYs. Id. at 27:2–7.

  68.   At a system-wide level, MDOC does not provide training on access to

        ASL interpreters. Id. at 26:19–22.

  69.   At a system-wide level, MDOC does not provide training on visual

        systems of notification for alarms and announcements. Id. at 34:22–

        35:3.



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  70.   At a system-wide level, MDOC does not provide training on the needs

        of deaf and hard of hearing prisoners in emergencies. Id. at 35:4–22.

  71.   MDOC does not have any plans to provide training or education

        regarding the treatment of or accommodations for deaf and hard of

        hearing prisoners. Id. at 38:10–13 (MDOC 30(b)(6) Dep. (Czinder

        (April 13, 2016)); Ex. XX, at 10:13–16 (MDOC 30(b)(6) Dep.

        (Czinder (October 12, 2016))).

                        PLAINTIFFS’ EXPERTS

  72.   Dr. Cokely is a tenured professor of ASL and Modern Languages at

        Northeastern University, and has 48 years of experience with deaf

        individuals. Ex. Q, at 1 (Cokely Expert Report).

  73.   Mr. Ray, who is deaf, has been employed by the City of Los Angeles

        Department of Disability for the past 23 years to assess, monitor, and

        ensure the city’s compliance with the ADA, Rehabilitation Act, and

        other disability laws. Ex. P, at 1–3 (Ray Expert Report).

  74.   Dr. Cokely found that MDOC denies meaningful and effective

        communicative access for deaf and hard of hearing prisoners, and

        denies them access to services, programs, and benefits that are

        afforded to other prisoners. Ex. Q, at 3 (Cokely Expert Report).



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  75.   Mr. Ray found that MDOC fails to provide deaf and hard of hearing

        prisoners with the means to communicate effectively with individuals

        both inside and outside of MDOC, to receive important

        announcements, and to have equal access to prison facilities,

        programs, services, and activities. Ex. P, at 4 (Ray Expert Report).

  76.   Both experts conclude that MDOC must, at minimum, provide the

        following accommodations to reasonably accommodate deaf and hard

        of hearing prisoners: (1) access to videophones; (2) consistent access

        to qualified sign language interpreters; (3) in-cell visual alarms and/or

        notification systems at all facilities that house deaf and hard of

        hearing prisoners; and (4) training to ensure MDOC staff understand

        how to interact appropriately with deaf and hard of hearing prisoners.

        Ex. Q, at 3–6 (Cokely Expert Report); Ex. P, at 4–5, 26 (Ray Expert

        Report).

  77.   Dr. Cokely further concludes that a review of all MDOC policies and

        procedures, with appropriate modifications where warranted, is

        necessary to ensure that deaf and hard of hearing prisoners are not

        systematically disadvantaged relative to prisoners who are not deaf or

        hard of hearing. Ex. Q, at 54 (Cokely Expert Report).



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Dated: March 17, 2017                         Respectfully submitted,


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                        CERTIFICATE OF SERVICE

      I hereby certify that on March 17, 2017, I caused a true and correct copy of

the foregoing Statement of Material Facts Not in Dispute to be served on all

counsel of record via ECF.

                                                 /s/ Andrew D. Lazerow
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